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               IN THE UNITED STATES DISTRICT COURT FOR THE
              NORTHERN DISTRICT OF ILLINOIS, EASTERN DIVISION

LIONEL WHITE, JR.,                     )
                                       )       Case No.
             Plaintiff,                )
                                       )
       v.                              )
                                       )
CITY OF CHICAGO, Former                )
CHICAGO POLICE SERGEANT                )
RONALD WATTS, SERGEANT                 )
ALVIN JONES, OFFICER                   )
ELSWORTH J. SMITH, JR.,                )
Former CHICAGO POLICE                  )
OFFICER KALLATT MOHAMMED, )
OFFICER ROBERT GONZALEZ,               )
OFFICER MANUEL LEANO,                  )
OFFICER BRIAN BOLTON,                  )
OFFICER DOUGLAS NICHOLS,               )
PHILIP J.CLINE, KAREN ROWAN, )
DEBRA KIRBY,                           )
and other as-yet-unidentified officers )
of the Chicago Police Department,      )
                                       )       JURY TRIAL DEMANDED
             Defendants.               )

                                   COMPLAINT

      Plaintiff Lionel White, Jr., by his attorneys, Loevy & Loevy, hereby complains

against Defendants, City of Chicago, former Chicago Police Sergeant Ronald Watts,

Sergeant Alvin Jones, former Chicago Police Officer Kallatt Mohammed, Officer

Elsworth J. Smith, Jr., Officer Robert Gonzalez, Officer Manuel Leano, Officer

Brian Bolton, Officer Douglas Nichols, Philip J. Cline, Karen Rowan, Debra Kirby,

and other as-yet-unidentified officers of the Chicago Police Department, and states

as follows:




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                                        Introduction

   1.     Lionel White, Jr., was convicted of an offense he did not commit.

   2.     Chicago police officers fabricated evidence against Mr. White and placed

him under arrest for a crime that never happened.

   3.     In July 2006, officers arrested then-17-year-old Mr. White at the Ida B.

Wells Homes, a public housing project heavily patrolled by corrupt Chicago police

officers.

   4.     At the Ida B. Wells housing complex, officers regularly solicited bribes,

planted narcotics and other drugs, and accused residents and visitors—including

Mr. White—of possessing drugs they did not possess.

   5.     In retaliation for a false arrest complaint initiated by his father, officers

continued their pattern of illegal behavior by falsifying drug charges against Mr.

White that led to his criminal prosecution, probation, and subsequent felony record.

   6.     Despite his innocence, Mr. White accepted a plea deal, fearing additional

time in county jail absent a plea.

   7.     After Mr. White had already completed his parole, Defendants former

Chicago Police Sergeant Ronald Watts and former Chicago Police Officer Kallatt

Mohammed were caught on tape engaging in the exact form of misconduct that led

to Mr. White’s falsified arrest and wrongful conviction.

   8.     The federal government charged Watts and Mohammed criminally, and the

disgraced officers pled guilty and served sentences in federal prison.

   9.     Over time, evidence has come to light showing Watts and his police team

members engaged in a regular pattern of criminal misconduct against public
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housing residents and visitors, and that Chicago Police Department officials knew

about that pattern at least as far back as 2004.

   10. For example, on or after November 16, 2017, following the decision of the

Cook County State’s Attorney’s Office (CCSAO) to vacate the convictions of 15

individuals—including Mr. White—Defendants Sergeant Alvin Jones and Officer

Elsworth J. Smith, Jr., along with other members of Watts’s crew still serving as

police officers, were placed on desk duty.

   11. In addition, the CCSAO will no longer call Defendant Jones as a witness

“due to concerns about [his] credibility and alleged involvement in the misconduct of

Sergeant Watts.”

   12. Through this lawsuit, Mr. White seeks accountability and compensation for

the deprivation of his liberty that resulted from Defendants’ misconduct.

                               Jurisdiction and Venue

   13. This action is brought pursuant to 42 U.S.C. § 1983 to redress the

deprivation under color of law of Plaintiff’s rights as secured by the Constitution of

the United States.

   14. This Court has jurisdiction over federal claims pursuant to 28 U.S.C. § 1331

and state law claims pursuant to 28 U.S.C. § 1367.

   15. Venue is proper under 28 U.S.C. § 1391(b). Plaintiff resides in this judicial

district and Defendant City of Chicago is a municipal corporation located here.

Additionally, the events giving rise to the claims asserted herein occurred within

this judicial district.



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                                    The Parties

   16. Mr. White is 29 years old. He currently lives and works in Chicago.

   17. At all relevant times, former Chicago Police Sergeant Ronald Watts,

Sergeant Alvin Jones, Chicago Police Officer Elsworth J. Smith, Jr., Officer Robert

Gonzalez, Officer Manuel Leano, Officer Brian Bolton, Officer Douglas Nichols, Jr.,

and former Officer Kallatt Mohammed were Chicago police officers employed by the

City of Chicago and acting within the scope of their employment and under color of

law. Collectively, these individual Defendants are referred to as “Defendant

Officers.”

   18. At all relevant times, Defendant Watts was a leader of the Second District

Tactical Team that worked the Ida B. Wells housing complex.

   19. Defendants Jones, Smith, Gonzalez, Leano, Bolton, Nichols, and

Mohammed worked on Watts’s tactical team.

   20. At all relevant times, Defendant Phillip J. Cline was the Superintendent of

the Chicago Police Department.

   21. At all relevant times, Defendants Karen Rowan and Debra Kirby were

Assistant Deputy Superintendents of the Chicago Police Department, acting as the

head of Internal Affairs. Collectively, these Defendantsand Defendant Cline are

referred to as “Defendant Supervisory Officers.”

   22. Defendant City of Chicago is a municipal corporation under the laws of the

State of Illinois. The City operates the Chicago Police Department (CPD) and is

responsible for the policies, practices, and customs of the City and CPD.



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                                Factual Background

   23. On July 23, 2006, Mr. White was outside 574 E. 36th St. at the Ida B. Wells

housing complex. He was doing nothing illegal and did not have any drugs.

   24. At the time, the complex was actively patrolled by a tactical team of CPD

officers, led by Defendant Watts.

   25. Watts and his tactical team members were well known to Mr. White and the

residents of Ida B. Wells. They maintained a visible presence and had a reputation

in the community for harassing young black men and women.

   26. Mr. White knew that Defendants Watts and Jones had previously

wrongfully arrested and framed his father, Lionel White, Sr. (“White Sr.”), and that

White, Sr., had filed a complaint about the arrest with the Office of Professional

Standards (OPS) on June 12, 2006. The complaint alleged that Defendant Jones in

particular beat White, Sr. severely during a false arrest on April 24, 2006, leading

to his hospitalization.

   27. Watts and his crew’s pattern of harassment continued with Mr. White.

                      Defendant Officers Fabricate a Drug Case

   28. About a month after White, Sr., filed his OPS complaint, on July 23, 2006,

Mr. White was at Ida B. Wells when someone indicated that Defendant Watts was

coming to the complex. Mr. White decided to leave the area, because he was aware

that Watts had framed his father and that Watts and his team would often arrest

people even if they were not doing anything illegal.




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   29. As Mr. White tried to leave, several police cars pulled up to the front and

back of the building near where Mr. White stood, and Defendants Watts,

Mohammed, Jones, and Smith exited their vehicles.

   30. Defendant Watts grabbed Mr. White and forced him against the wall of the

building. When Mr. White told Watts that he did not have any drugs, Watts told

Mr. White to take the issue up with Defendant Jones.

   31. Watts and the other officers—including Defendants Mohammed, Jones, and

Bolton—then created a false arrest report indicating that Mr. White was observed

selling narcotics, a Class X felony.

                       Mr. White Is Prosecuted and Convicted

   32. On the basis of the false reports that the Defendant Officers prepared, the

State prosecuted Mr. White for drug crimes.

   33. Facing the possibility of false, but potentially damning, testimony from

Watts and his crew, Mr. White agreed to take a plea deal because he was scared of

spending more time in county jail.

   34. He was forced to undergo years of intense probation, which included a 7

p.m. to 7 a.m. curfew, being subject to monthly drug testing, having law

enforcement enter and search his home on a regularly scheduled basis, and having

to regularly travel to visit his probation officer in Markham, Illinois.

Emboldened by the City’s Code of Silence, Defendant Watts and His Crew Engaged
         in a Pattern of Misconduct That Spanned at Least a Decade

   35. It was no secret within CPD that Watts and his crew engaged in the type of

misconduct that Mr. White experienced firsthand.


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   36. Government officials, including those with the City of Chicago, knew about

Watts and his crew’s alleged misconduct as early as 1999.

   37. By 2004, an FBI investigation into Watts and his team was underway. The

FBI investigation took place with the knowledge and occasional participation of the

Chicago Police Department’s Internal Affairs Division (IAD).

   38. Because IAD was kept abreast of the FBI investigation, by 2004, City

officials—including but not limited to the head of IAD and CPD Superintendent

Philip J. Cline—were aware of credible allegations that Watts and his team were

extorting and soliciting bribes from drug dealers.

   39. According to another source who was interviewed, Watts used a drug dealer

named “Big Shorty” to run drugs at the Ida B. Wells complex. Big Shorty would sell

the drugs, turning profits over to Watts in exchange for Watts’s protection.

According to the source, Watts also used drug dealers as phony informants to obtain

illegitimate search warrants and offered to let arrestees go if they provided him

with weapons.

   40. Targets of the FBI investigation extended beyond Watts to members of his

tactical team, including Defendants Jones, Mohammed, and Smith.

   41. By 2010, the FBI investigation generated evidence showing that Watts

engaged in systematic extortion of drug dealers, theft, possession and distribution of

drugs for money, planting drugs on subjects, and paying informants with drugs.

   42. Investigators also determined that Watts and his subordinates had engaged

in these activities for the past 10 years.



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             Watts and Mohammed Are Charged with Federal Crimes

   43. In 2012, after engaging in criminal misconduct for at least a decade,

Defendants Watts and Mohammed were caught red-handed shaking down a person

they thought was a drug courier. In fact, he was an agent for the FBI.

   44. The U.S. government subsequently charged Watts and Mohammed with

federal crimes.

   45. Watts and Mohammed each pled guilty to federal criminal charges and were

sentenced to terms of imprisonment. See United States v. Watts, No. 12-CR-87-1

(N.D. Ill.); United States v. Mohammed, No. 12-CR-87-2 (N.D. Ill.).

   46. In its sentencing memorandum in the Watts case, the government explained

that “[f]or years,” “the defendant [Watts] used his badge and his position as a

sergeant with the Chicago Police Department to shield his own criminal activity

from law enforcement scrutiny.” His crimes included “stealing drug money and

extorting protection payments” from the individuals he was sworn to protect and

serve.

   47. The government revealed that, for years, and on numerous occasions,

Defendants Watts and Mohammed extorted tens of thousands of dollars in bribes

from individuals at the Ida B. Wells Homes as part of their duties with the CPD.

   48. During the sentencing hearing, the government urged Judge Sharon

Johnson Coleman to “consider the other criminal conduct that the defendant

[Watts] engaged in throughout the course of his career as a police officer.” The

government specifically noted that during the federal investigation, Watts “did



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other things such as putting a false case on the confidential source that was

involved in our investigation. . . . [and having] him arrested on drug charges. And

the source . . . felt he had no chance of successfully fighting that case so he pled

guilty to a crime he didn’t commit.” The federal prosecutor wondered aloud “how

many times [Watts] might have done something similar when the government was

not involved.”

   49. Following the federal indictments of Watts and Mohammed, City officials

made efforts to downplay the magnitude of Watts’s criminal enterprise.

   50. Notwithstanding the evidence investigators had amassed over the years

pointing to a wide, decade-long criminal enterprise, CPD Superintendent Garry

McCarthy publicly stated, “There is nobody involved other than the two officers who

were arrested.” As described in more detail below, that statement was incorrect.

                              The City’s “Code of Silence”

   51. While the federal government was investigating Watts and his crew, a “code

of silence” existed within the Chicago Police Department.

   52. Under this code, police officers are expected to conceal each other’s

misconduct—in contravention of their sworn duties—and penalties for breaking the

code of silence within the CPD are severe.

   53. As one CPD officer has explained, “[The Chicago Police Academy told

officers] over and over again we do not break the code of silence. Blue is Blue. You

stick together. If something occurs on the street that you don’t think is proper, you

go with the flow. And after that situation, if you have an issue with that officer or



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what happened, you can confront them. If you don’t feel comfortable working with

them anymore, you can go to the watch commander and request a new partner. But

you never break the code of silence.”

   54. Pursuant to this “code of silence,” each of the Defendant Officers concealed

information from Mr. White that Watts and his team members were in fact engaged

in a wide-ranging pattern of misconduct. Had this information been disclosed, Mr.

White would have used it to impeach the officers’ accounts, changing the outcome of

the criminal proceedings instituted against him.

   55. Also, consistent with this “code of silence,” the few people who stood up to

Watts and his crew and/or attempted to report his misconduct were either ignored

or punished, and the Defendant Officers continued to engage in misconduct with

impunity.

      The Careers of CPD Officers Daniel Echeverria and Shannon Spaulding
                               Are Nearly Ruined

   56. In 2006, two Chicago police officers, Daniel Echeverria and Shannon

Spaulding, learned credible information from arrestees that Watts and his crew

were engaged in illegal drug activity.

   57. Officer Echeverria took the allegation seriously and reported it to a CPD

supervisor. The supervisor made clear that he was not interested in hearing about

the allegation and directed Echeverria not to document it.

   58. Echeverria and Spaulding subsequently reported the allegations about

Watts and his crew to the FBI. Soon thereafter, Echeverria and Spaulding began




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cooperating with the FBI, actively assisting the FBI’s investigation of Watts and his

crew.

   59. When their cooperation became known to officers within their CPD chain of

command, Spaulding and Echeverria were labeled “rats” within the Department,

their lives were threatened, and they endured all manner of professional retaliation

by members of the CPD.

   60. Spaulding and Echeverria subsequently sued the City for the retaliation

they suffered for blowing the whistle on Watts and his crew. On the eve of trial in

that case, the City settled for $2 million.

                CPD Officer Michael Spaargaren’s Life Is Threatened

   61. Sometime in the mid-2000s, CPD Officer Michael Spaargaren was assigned

to work with Watts in public housing.

   62. Spaargaren observed that Watts did not inventory drugs and money that

officers seized during arrests, and he confronted Watts about the misconduct.

   63. In response, Watts threatened to plant a false case against Spaargaren and

made veiled threats to kill him.

   64. A CPD lieutenant in the chain of command subsequently warned

Spaargaren to keep his mouth shut or his life would be in danger.

   65. Fearful for his life, Spaargaren opted to take a one-and-a-half-year leave of

absence from CPD rather than continue to work under Watts.




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                          Citizen Complaints Went Nowhere

   66. Defendants Watts, Mohammed, and other members of Watts’s tactical team

accumulated dozens of citizen complaints concerning violations of their civil rights

over the years, beginning well before the misconduct Defendants committed against

Mr. White, yet the City did nothing to stop their wrongdoing.

   67. On information and belief, complaints that the City did take the time to

investigate largely boiled down to he-said-she-said situations between the officer

and the citizen, and the City’s policy was to resolve those disputes in the officers’

favor, no matter how many citizens came forward with the same type of complaint.

    The City Turned a Blind Eye Toward Watts and His Crew’s Clear Pattern of
                              Alleged Misconduct

   68. Despite all of the evidence amassed over the years demonstrating a clear

pattern and practice of Defendant Officers’ criminal misconduct, on information and

belief, the City never undertook its own investigation.

   69. As City officials were aware, the purpose of the FBI investigation was to

investigate and prosecute criminal activity, not to discipline and control the City’s

Police Department.

   70. Nothing about the FBI investigation relieved the City of its fundamental

responsibility to supervise, discipline, and control its officers. Nevertheless, the City

completely abdicated this responsibility, allowing the widespread misconduct to

continue unabated throughout the FBI’s criminal investigation of Watts and his

crew.




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   71. During the FBI investigation, which spanned at least eight years, City

officials had reason to believe that Watts and his crew were engaged in ongoing

criminal activity on the streets—extorting drug dealers and framing citizens for

crimes they did not commit—yet City officials took no steps to prevent these abuses

from occurring.

   72. Instead, the City officials let officers on Watts’s crew continue to pursue

criminal charges against citizens like Mr. White and to falsify arrest reports and

testimony in such cases.

   73. Even worse, City officials withheld information they had about the officers’

pattern of transgressions, information that citizens like Mr. White could have used

to impeach the corrupt officers and defend against the bogus criminal charges

placed upon them.

                               Mr. White’s Exoneration

   74. After Defendant Watts’ and his crew’s corruption came to light, on

September 12, 2017, Mr. White joined a group of similarly situated innocent

victims, and together they filed a Consolidated Petition for Relief from Judgment

and to Vacate Convictions Pursuant to 735 ILCS 5/2-1401 (“Consolidated Petition”).

   75. On November 16, 2017, upon the State’s motion, Judge LeRoy K. Martin,

Jr., vacated all of the 18 convictions, including Mr. White’s, and the State nolle

prossed all charges related to the convictions.

   76. In commenting on the extraordinary decision to agree to vacate all of the

convictions, the director of the Cook County State’s Attorney’s Office’s Conviction

Integrity Unit, Mark Rotert, stated, “In these cases, we concluded, unfortunately,
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that police were not being truthful and we couldn’t have confidence in the integrity

of their reports and their testimony.”

   77. As a result, the CCSAO will no longer call certain member of Watts’s crew,

including Defendant Jones, as witnesses in any pending or future matters because

of their credibility concerns and alleged involvement in misconduct.

   78. Shortly after the convictions were vacated, Superintendent Johnson placed

Defendants Jones, Smith, Bolton, Gonzalez, Leano, and Nichols, along with other

members of Watts’s crew, on desk duty.

                                Mr. White’s Damages

   79. The Defendants’ misconduct and false accusations subjected Mr. White to

unfair criminal proceedings, a number of months in Cook County jail, a felony

conviction, and two years of intense probation, before he was finally exonerated.

   80. At only 17, Mr. White was targeted by corrupt police officers in retaliation

for a complaint filed by his father, who was also framed by Watts and his crew. This

police harassment and wrongful conviction has caused Mr. White significant

emotional pain and suffering and irrevocably marred his young adulthood. He was

kicked off his high school basketball team. For more than 10 years, Mr. White had

to live with a felony record he did not deserve. This made gaining meaningful

employment next to impossible.

   81. As a result of the foregoing, Mr. White has suffered emotional damages

proximately caused by Defendants’ wrongdoing.

                      Count I: 42 U.S.C. § 1983 – Due Process

   82. Each paragraph of this Complaint is incorporated as if restated fully herein.

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   83. In the manner described more fully above, Defendant Officers, while acting

as investigators, individually, jointly, and in conspiracy with each other deprived

Plaintiff of his constitutional right to due process and a fair trial.

   84. In the manner described more fully above, Defendant Officers deliberately

withheld exculpatory evidence from Plaintiff and from state prosecutors, among

others, and knowingly fabricated false evidence, thereby misleading and

misdirecting the criminal prosecution of Plaintiff.

   85. Likewise, in the manner described more fully above, Defendants Philip J.

Cline, Karen Rowan, Debra Kirby, and other as-yet-unidentified CPD supervisors,

had knowledge of Watts and his crew’s pattern of misconduct. These Defendant

Supervisory Officers knew of a substantial risk that Watts and his team would

violate the rights of Mr. White and other residents and visitors of the Ida B. Wells

Homes, and they deliberately chose a course of action that allowed those abuses to

continue, thereby condoning those abuses.

   86. The constitutional injuries complained of herein were proximately caused by

the intentional misconduct of Defendant Supervisory Officers, or were proximately

caused when Defendant Supervisory Officers were deliberately, recklessly

indifferent to their subordinates’ misconduct, knowing that turning a blind eye to

that misconduct would necessarily violate Plaintiff’s constitutional rights.

   87. In addition, Defendant Supervisory Officers themselves concealed

exculpatory evidence from Mr. White, specifically information about Watts and his




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team’s pattern of misconduct. In this way, Defendant Supervisory Officers violated

Mr. White’s due process right to a fair trial deliberately and with reckless disregard.

   88. Defendants’ misconduct directly resulted in the unjust criminal conviction of

Plaintiff, denying him his constitutional right to due process and a fair trial

guaranteed by the Fourteenth Amendment. Absent this misconduct, Plaintiff could

not and would not have been prosecuted.

   89. The misconduct described in this Count was objectively unreasonable and

was undertaken intentionally, with reckless and deliberate indifference to the

rights of others and with total disregard for the truth and for Mr. White’s clear

innocence.

   90. Defendants’ actions were taken under color of law and within the scope of

their employment.

   91. Defendant City of Chicago is also directly liable for the injuries described in

this Count, because the City and CPD maintained official policies and customs that

were the moving force behind the violation of Plaintiff’s rights, and the actions of

the final policymaking officials for the City and CPD were the moving force behind

the violation of Plaintiff’s rights.

   92. At all times relevant to the events described in this Complaint and for a

period of time prior thereto, Defendant City of Chicago maintained a system that

violated the due process rights of criminal defendants like Mr. White by concealing

exculpatory evidence of Chicago police officers’ patterns of misconduct.




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   93. In addition, at all times relevant to the events described in this Complaint

and for a period of time prior thereto, Defendant City of Chicago had notice of a

widespread practice by its officers and agents under which criminal suspects, such

as Mr. White, were routinely deprived of exculpatory evidence, were subjected to

criminal proceedings based on false evidence, and were deprived of liberty without

probable cause, such that individuals were routinely implicated in crimes to which

they had no connection and for which there was scant evidence to suggest that they

were involved.

   94. As a matter of both policy and practice, Defendant City directly encourages,

and is thereby the animating force behind, the very type of misconduct at issue here

by failing to adequately train, supervise, control, and discipline its police officers,

such that its failure to do so manifests deliberate indifference. Defendant City’s

practices lead police officers in the City of Chicago to believe that their actions will

never be scrutinized and, in that way, directly encourage further abuses such as

those that Mr. White endured.

   95. The above-described widespread practices, which were so well-settled as to

constitute the de facto policy of the City of Chicago, were allowed to exist because

municipal policymakers with authority over the same exhibited deliberate

indifference to the problem, thereby effectively ratifying it. These widespread

practices were allowed to flourish because Defendant City and the CPD declined to

implement sufficient policies or training, even though the need for such policies and

training was obvious. Defendant City and the CPD also declined to implement any



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legitimate mechanism for oversight or punishment of officers, thereby leading

officers to believe that they could violate citizens’ constitutional rights with

impunity.

   96. Furthermore, the misconduct described in this Complaint was undertaken

pursuant to the policy and practices of Defendant City in that the constitutional

violations committed against Plaintiff were committed with the knowledge or

approval of persons with final policymaking authority for the City of Chicago and

the CPD, or were actually committed by persons with such final policymaking

authority.

   97. Indeed, municipal policymakers have long been aware of Defendant City’s

policy and practice of failing to properly train, monitor, investigate, and discipline

misconduct by its police officers but have failed to take action to remedy the

problem.

   98. For example, at a City Council hearing on September 28, 1999, in response

to two high-profile unjustified police shootings, Superintendent Terry Hillard noted

the need for better in-service training on the use of force, early detection of potential

problem officers, and officer accountability for the use of force.

   99. In June 2000, the Chairman of the Committee on Police and Fire of the

Chicago City Council submitted an official resolution recognizing that “[Chicago]

police officers who do not carry out their responsibilities in a professional manner

have ample reason to believe that they will not be held accountable, even in

instances of egregious misconduct.”



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   100. In 2001, the Justice Coalition of Greater Chicago (JCGC), a coalition of more

than a hundred community groups, confirmed the findings of that resolution,

concluding that the CPD lacked many of the basic tools necessary to identify,

monitor, punish, and prevent police misconduct. The JCGC findings were presented

to Mayor Richard Daley, Superintendent Hillard, and the Chicago Police Board.

   101. Despite municipal policymakers’ knowledge of the City’s failed policies and

practices to adequately train, supervise, investigate, discipline, and control its

police officers, nothing was done to remedy these problems.

   102. As a result, the CPD has continued to respond to complaints of police

misconduct inadequately and with undue delay and to recommend discipline in a

disproportionately small number of cases.

   103. Indeed, by its own admissions, when a citizen complains that his or her civil

rights were violated by police officers, the City sides with the police officer and

concludes that no violation occurred more than 99% of the time.

   104. Notably, Defendants Watts and Mohammed are not the first Chicago police

officers who were allowed to abuse citizens with impunity over a period of years

while the City turned a blind eye.

   105. For instance, in 2001, Chicago Police Officer Joseph Miedzianowski was

convicted on federal crime charges, including racketeering and drug conspiracy. The

jury found that Miedzianowski engaged in corruption for much of his 22-year police

career, using street informants to shake down drug dealers and sell drugs.




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   106. Miedzianowski, like Defendant Officers in this case, had accumulated

dozens of complaints over the years, which Defendant City routinely deemed

unfounded or not sustained.

   107. Likewise, in 2011, Chicago Police Officer Jerome Finnigan was convicted

and sentenced on federal criminal charges, including a charge of attempting to hire

someone to kill a police officer who Finnigan believed would be a witness against

him on his own corruption charges in state court.

   108. Finnigan was part of a group of officers in Defendant City’s Special

Operations Section that carried out robberies, home invasions, unlawful searches

and seizures, and other crimes.

   109. Finnigan and his crew engaged in their misconduct at about the same time

that Defendant Watts and his crew targeted Mr. White.

   110. Finnigan, like Defendant Officers in this case, had accumulated dozens of

citizen complaints over the years, which Defendant City routinely deemed

unfounded or not sustained.

   111. At his sentencing hearing in 2011, Finnigan stated, “You know, my bosses

knew what I was doing out there, and it went on and on. And this wasn’t the

exception to the rule. This was the rule.”

   112. In the case of Klipfel v. Bentsen, No. 94-cv-6415 (N.D. Ill), a federal jury

found that, as of 1994, the CPD maintained a code of silence that facilitated

misconduct committed by Miedzianowski.




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   113. Likewise, in the case of Obrycka v. City of Chicago et al., No. 07 CV 2372

(N.D. Ill.) , a jury found that as of February 2007 “the City [of Chicago] had a

widespread custom and/or practice of failing to investigate and/or discipline its

officers and/or code of silence.”

   114. The same constitutionally-defective oversight system in place during the

time periods at issue in the Klipfel case and in the Obrycka case was also in place in

2006, when Mr. White suffered the abuse described above.

   115. The same code of silence in place at the CPD during the time periods at

issue in the Klipfel case and in the Obryka case was also in place in 2006, when Mr.

White suffered the abuse describe above.

   116. Indeed, the problems found to exist by the jury in Klipfel and Obrycka

continue to this day. In December 2015, Mayor Rahm Emanuel acknowledged that

a “code of silence” exists within the Chicago Police Department that encourages

cover-ups of police misconduct and that the City’s attempts to deal with police abuse

and corruption have never been adequate.

   117. The policies, practices, and customs set forth above were the moving force

behind the constitutional violations in this case and directly and proximately

caused Plaintiff to suffer the grievous and permanent injuries and damages set

forth above.

   118. Defendant City’s investigation of complaints is characterized by

unreasonably long delays, despite the relatively straightforward nature of many

misconduct claims.



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   119. Although Defendant City has long been aware that its supervision, training,

and discipline of police officers is entirely inadequate, it has not enacted any

substantive measures to address that deficiency.

   120. Instead, Defendant City continues to inadequately investigate citizen

complaints and take action against officers when necessary. It has also failed to

modify its officer training programs to reduce misconduct against Chicago residents

and to implement a system to identify and track repeat offenders, districts, or units.

   121. Plaintiff’s injuries were caused by officers, agents, and employees of

Defendant City of Chicago and the CPD, including but not limited to the

individually named Defendants, who acted pursuant to the policies, practices, and

customs set forth above in engaging in the misconduct described in this Count.

Count II: 42 U.S.C. § 1983 – Malicious Prosecution and Unlawful Pretrial Detention

   122. Each paragraph of this Complaint is incorporated as if restated fully herein.

   123. In the manner described more fully above, Defendants, while acting as

investigators, individually, jointly, and in conspiracy with each other, accused

Plaintiff of criminal activity and exerted influence to initiate, continue, and

perpetuate judicial proceedings against Plaintiff without any probable cause for

doing so and in spite of the fact that they knew Plaintiff was innocent.

   124. In doing so, Defendants caused Plaintiff to be unreasonably seized without

probable cause and deprived of his liberty, in violation of Plaintiff’s rights secured

by the Fourth and Fourteenth Amendments.

   125. The false judicial proceedings against Plaintiff were instituted and

continued maliciously, resulting in injury.

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   126. Defendants deprived Plaintiff of fair state criminal proceedings, including

the chance to defend himself during those proceedings, resulting in a deprivation of

his liberty.

   127. In addition, Defendants subjected Plaintiff to arbitrary governmental action

that shocks the conscience in that Plaintiff was deliberately and intentionally

framed for a crime of which he was totally innocent through Defendants’ fabrication

and suppression of evidence.

   128. The misconduct described in this Count was objectively unreasonable and

was undertaken intentionally, with reckless and deliberate indifference to the

rights of others, and with total disregard for the truth and for Plaintiff’s clear

innocence.

   129. The Defendants’ actions were taken under color of law and within the scope

of their employment.

   130. As a result of Defendants’ misconduct described in this Count, Plaintiff

suffered loss of liberty, great mental anguish, humiliation, degradation, physical

and emotional pain and suffering, and other grievous and continuing injuries and

damages as set forth above.

   131. Defendants’ misconduct described in this Count was undertaken pursuant

to the policies, practices, and customs of Defendant City of Chicago, and by

Defendants who were final policymakers for Defendant City of Chicago, in the

manner described more fully above.

                  Count III: 42 U.S.C. § 1983 – Failure to Intervene

   132. Each paragraph of this Complaint is incorporated as if restated fully herein.
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   133. In the manner described more fully above, during the constitutional

violations described herein, Defendants stood by without intervening to prevent the

violation of Plaintiff’s constitutional rights, even though they had the opportunity to

do so.

   134. The misconduct described in this Count was objectively unreasonable and

was undertaken intentionally, with reckless and deliberate indifference to the

rights of others and with total disregard for the truth and for Plaintiff’s innocence.

   135. The Defendants’ actions were taken under color of law and within the scope

of their employment.

   136. As a result of Defendants’ misconduct described in this Count, Plaintiff

suffered loss of liberty, great mental anguish, humiliation, degradation, physical

and emotional pain and suffering, and other grievous and continuing injuries and

damages as set forth above.

   137. Defendants’ misconduct described in this Count was undertaken pursuant

to the policies, practices, and customs of Defendant City of Chicago and by

Defendants who were final policymakers for Defendant City of Chicago, in the

manner described more fully above.

     Count IV: 42 U.S.C. § 1983 – Conspiracy to Deprive Constitutional Rights

   138. Each paragraph of this Complaint is incorporated as if restated fully herein.

   139. Prior to Plaintiff’s conviction, all of the Defendant Officers, acting in concert

with other co-conspirators, known and unknown, reached an agreement among

themselves to frame Plaintiff for a crime he did not commit and thereby to deprive

him of his constitutional rights, all as described above.
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   140. In so doing, these co-conspirators conspired to accomplish an unlawful

purpose by an unlawful means. In addition, these co-conspirators agreed among

themselves to protect one another from liability by depriving Plaintiff of his rights.

   141. In furtherance of their conspiracy, each of these co-conspirators committed

overt acts and were otherwise willful participants in joint activity.

   142. The misconduct described in this Count was objectively unreasonable and

was undertaken intentionally, with reckless and deliberate indifference to the

rights of others, and with total disregard for the truth and for Plaintiff’s innocence.

   143. The Defendants’ actions were taken under color of law and within the scope

of their employment.

   144. As a result of Defendants’ misconduct described in this Count, Plaintiff

suffered loss of liberty, great mental anguish, humiliation, degradation, physical

and emotional pain and suffering, and other grievous and continuing injuries and

damages as set forth above.

   145. Defendants’ misconduct described in this Count was undertaken pursuant

to the policies, practices, and customs of Defendant City of Chicago and by

Defendants who were final policymakers for Defendant City of Chicago, in the

manner described more fully above.

                    Count V: Illinois Law – Malicious Prosecution

   146. Each paragraph of this Complaint is incorporated as if restated fully herein.

   147. In the manner described more fully above, Defendants accused Plaintiff of

criminal activity and exerted influence to initiate, continue, and perpetuate judicial

proceedings against Plaintiff without any probable cause for doing so.
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   148. In so doing, these Defendants caused Plaintiff to be subjected improperly to

judicial proceedings for which there was no probable cause. These judicial

proceedings were instituted and continued maliciously, resulting in injury.

   149. The Defendants’ actions were taken under color of law and within the scope

of their employment.

   150. As a result of Defendants’ misconduct described in this Count, Plaintiff

suffered loss of liberty, great mental anguish, humiliation, degradation, physical

and emotional pain and suffering, and other grievous and continuing injuries and

damages as set forth above.

        Count VI: Illinois Law – Intentional Infliction of Emotional Distress

   151. Each paragraph of this Complaint is incorporated as if restated fully herein.

   152. The actions, omissions, and conduct of Defendant Officers, as set forth

above, were extreme and outrageous. These actions were rooted in an abuse of

power and authority and were undertaken with the intent to cause, or were in

reckless disregard of the probability that their conduct would cause, severe

emotional distress to Plaintiff, as is more fully alleged above.

   153. The Defendants’ actions were taken under color of law and within the scope

of their employment.

   154. As a result of Defendants’ misconduct described in this Count, Plaintiff

suffered loss of liberty, great mental anguish, humiliation, degradation, physical

and emotional pain and suffering, and other grievous and continuing injuries and

damages as set forth above.



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                      Count VII: Illinois Law – Civil Conspiracy

   155. Each paragraph of this Complaint is incorporated as if restated fully herein.

   156. As described more fully in the preceding paragraphs, Defendants, acting in

concert with other co-conspirators, known and unknown, reached an agreement

among themselves to frame Plaintiff for a crime he did not commit and conspired by

concerted action to accomplish an unlawful purpose by an unlawful means. In

addition, these co-conspirators agreed among themselves to protect one another

from liability for depriving Plaintiff of his rights.

   157. In furtherance of their conspiracy, each of these co-conspirators committed

overt acts and were otherwise willful participants in joint activity.

   158. The misconduct described in this Count was objectively unreasonable and

was undertaken intentionally, with reckless and deliberate indifference to the

rights of others, and with total disregard for the truth and for Plaintiff’s innocence.

   159. As a result of Defendants’ misconduct described in this Count, Plaintiff

suffered loss of liberty, great mental anguish, humiliation, degradation, physical

and emotional pain and suffering, and other grievous and continuing injuries and

damages as set forth above.

                    Count VIII: Illinois Law – Respondeat Superior

   160. Each paragraph of this Complaint is incorporated as if restated fully herein.

   161. While committing the acts alleged in the preceding paragraphs, Defendant

Officers were employees, members, and agents of the City of Chicago, acting at all

relevant times within the scope of their employment.



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   162. Defendant City of Chicago is liable as principal for all torts committed by

their agents.

                      Count IX: Illinois Law – Indemnification

   163. Each paragraph of this Complaint is incorporated as if restated fully herein.

   164. Illinois law provides that public entities are directed to pay any tort

judgment for compensatory damages for which employees are liable within the

scope of their employment.

   165. Defendant Officers were employees, members, and agents of the City of

Chicago, acting at all relevant times within the scope of their employment in

committing the misconduct described herein.


      WHEREFORE, Plaintiff Lionel White, Jr., respectfully requests that this

Court enter a judgment in his favor and against the City of Chicago, former Chicago

Police Sergeant Ronald Watts, former Chicago Police Officer Kallatt Mohammed,

Sergeant Alvin Jones, Officer Elsworth J. Smith, Jr., Officer Robert Gonzalez,

Officer Manuel Leano, Officer Brian Bolton, Officer Douglas Nichols, Jr., Phillip J.

Cline, Karen Rowan, Debra Kirby, and other as-yet-unidentified officers of the

Chicago Police Department, awarding compensatory damages, attorneys’ fees and

costs against each Defendant, punitive damages against each of the individual

Defendants, and any other relief this Court deems just and appropriate.

                                   JURY DEMAND

      Plaintiff, Lionel White, Jr., hereby demands a trial by jury pursuant to

Federal Rule of Civil Procedure 38(b) on all issues so triable.


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                                            Respectfully submitted,


                                            /s/ Theresa Kleinhaus
                                            One of Plaintiffs’ Attorneys



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